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                                                                United States Attorney
                                                                Southern District of New York
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                             DECLARATION OF JEBBY RASPUTNIS
                             OFFICE OF APPELLATE OPERATIONS
                             SOCIAL SECURITY ADMINISTRATION

I, JEBBY RASPUTNIS, Executive Director of the Social Security Administration’s Office of
Appellate Operations (OAO), declare and state as follows:

   1) My office is responsible for, among other things, preparing certified copies of

       administrative records (CARs) for Federal court review when claimants appeal the final

       decisions of the Commissioner of Social Security.

   2) Beginning in mid-March, the Social Security Administration restricted physical access to

       our buildings because of the COVID-19 pandemic. In order to protect the health and

       safety of our employees and our community, we have kept our employees on maximum

       telework, only authorizing limited in-office work since that time. The OAO’s office in

       Falls Church, Virginia – which is home to OAO’s Division of Civil Actions (DCA) – is

       included in this restriction. Prior to the pandemic, DCA staff worked out of the Falls

       Church office, with the support of three contracted transcription typing services, to

       complete CARs using a manual paper process.

       RECENT PROGRESS IN PRODUCING CARS

   3) After much work, we have redesigned our business processes to allow for a mostly

       virtual CAR preparation process. These new approaches required us to modify and test

       technology, retrain staff, and modify blanket purchasing agreements with the

       transcription typing services we rely on for transcripts of agency hearings. It has taken us

       some time and more than one try, but we now have a virtual process that has enabled us

       to ramp up our CAR production commensurate with the capacity of our transcription




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       typing services. In September, we processed 1,372 cases; in October, we processed

       2,115; and, in November, we processed 1,709.

   4) The effects of the COVID-19 pandemic also resulted in staffing and processing problems

       for our transcript typing service contractors. These contractors are a necessary part of the

       CAR preparation process because the agency did not have staff to produce hearing

       transcripts. The agency is supporting its existing contractors in hiring new staff by

       expediting their suitability investigations and credentialing.

   5) We have historically only worked with three contracted transcript typing services, but in

       September 2020, we brought two additional contracts online. We are now working with

       five contracted transcription typing services and are augmenting those services by

       training in-house staff to complete transcriptions.

   6) We continuously assess staffing needs within our DCA branches. As part of our internal

       transcription augmentation effort, we have transferred approximately 50 staff members to

       the DCA branches, and we are hiring additional Civil Actions Assistants to process this

       workload.

       CURRENT CHALLENGES

   7) Backlog: The backlog of work that built up during the past seven months is daunting. At

       the end of November, we had more than 10,200 new court cases waiting to be processed.

       Although we are now producing CARs at our pre-pandemic levels, the number of new

       complaints in the district courts has increased. In fiscal 2019, district court complaints

       filed against the agency averaged 1,440 per month. In the last three months, we received

       more than 2,000 new court cases each month. We publish quarterly workload information

       at

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       https://www.ssa.gov/appeals/DataSets/08_National_New_Court_Cases_and_Remands.ht

       ml.

   8) Prioritizing Cases Using the New Process: Due to our change to a new electronic

       processing system, our staff had difficulty separating the oldest cases from the newer

       cases when transmitting audio files to the contracted transcription typing services.

       Although we now have an organizational system to identify older cases for processing by

       our contract typing services, each contractor works at a different speed based on their

       individual staffing challenges. As our organization system continues to improve the

       processing order, we expect that disparities between case filing dates and CAR

       completion dates will decrease. We continue to focus our efforts on processing the most

       aged cases.

   9) Capacity of Contracted Transcription Typing Services: Despite our best efforts to assist,

       the pandemic has adversely impacted the contractors’ capacity to perform their

       transcription services. We have been working with the existing contractors to increase

       their capacity, and have effectuated two new contracts. However, our contractors have

       finite capacity to deliver hearing transcripts. The pandemic’s impact on the contractors’

       workforce remains outside of our control.

   10) Overall, the timeframe for delivering a CAR in any individual case has improved.

       Although we remain subject to some constraints, we continue to work on increasing

       productivity to the best of our ability. We ask for continued patience as we work to

       increase our production of CARs, and address rising court case filings.




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   In accordance with 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is

   true and correct to the best of my knowledge and belief.



   Dated December 04, 2020                          /s/ ___
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